 Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 1 of 15
                                                                                                                                       Lloyd &
                                                                                                                                  _til Partners
                                                                                                                                           Limited

                                                                                                                                        One America Square
                                                                                                                                                   London
                                                                                                                                                  EC3N 2JL
11 May 2010
                                                                                                                                  switchboard: 020 7466 6500
                                                                                                                                    direct dial: 020 7466 6501
                                                                                                                                           fax: 020 7466 6565
                                                                                                                                  www.lloydandpartners.com
Honorable Robert Menendez
U.S. Senator
528 Senate Hart Office Building
Washington, DC 20510
United States of America




Dear Honorable Robert Menendez



Re:    Deepwater Horizon / Macondo Well Incident


About Lloyd & Partners

Lloyd & Partners is a London and Bermuda based Major Account (complex risk) insurance
broker specialising in onshore and offshore energy insurance with premiums placed
annually in excess of USD 1.5bn. Overall Lloyd & Partners employs over 200 people and
our 40 plus strong Energy team is one of the largest and most respected teams in the
London market. We arrange both Property and Liability Insurance for a wide range of
Energy Insureds including integrated oil companies, exploration & production companies
and drilling/service contractors.


Available Liability Insurance Capacity under normal Insurance conditions (policies with
normal terms and conditions).

Prior to the recent Gulf of Mexico drilling incident, worldwide third party pollution liability
capacity for offshore energy operations was in excess of USD 1.5bn for each insured on a
100% basis (meaning the limits scaled to an individual insured's working interest in a
project).

Whilst the insurance market previously attempted to limit their "clash" exposures (where
they could pick up a loss from more than one insured from the same loss) by scaling their
limits to an operating group company's working interest in the main they had previously
thought of clashes between operators and contractors, as the Joint Operating
Agreement would have given them some comfort that only the operator would be liable
for a pollution loss, the concern now is that a loss of the nature we are witnessing may
result in attempts to hold all the parties responsible regardless of the provisions of the JOA.


                                                V:\EJL\LETTERS\201O\LET193C (v3).doc

                                                   A Jardine Lloyd Thompson Company

                                      Lloyd's Broker. A company incorporated with liability limited by shares.
                 Registered Office: One America Square. london EC3N 2JL. Registered in England No. 02005745. Vat No. 244232196.
                                           Authorised and regulated by the Financial Services Authority.
  Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 2 of 15
                                                                                                                            Lloyd &
                                                                                                                            Partners
                                                                                                                            Limited
                                                                2



We have therefore already seen in the market a realisation that if every party involved in
the loss (operating group, drilling contractor, other service contractors - such as mud or
cementing contractors - and blowout preventor manufacturers) are successfully sued
then the market will be exposed to a degree much larger than anticipated when
committing capacity to individual Insureds.
This has already resulted in at least one major London energy liability insurance leader
advising us that they are cutting back their maximum capacity for individual Insureds by
a third.

At this stage it is really impossible to accurately predict what the exact impact of this loss
will have on available capacity but we think it could result in a reduction of such
capacity of around 15% to 30%


Available liability Insurance Capacity under OPA "certificates"

Where Insurers are asked to provide full coverage under OPA (being strict liability with
direct access to insurers and no defence of normal insurance policy terms and
conditions) capacity is much more restricted than normal third party liability and we
estimate available capacity would be no more than USD150mm - USD200mm.


Pricing

Prior to the recent incident the market was in a "soft" phase where rates were low as a
result of oversupply of capacity, as not many Insureds purchased the full available
capacity (typically offshore E&P companies would have purchased on average
somewhere around USD 250mm to USD 500mm in limits.)

There is now likely to be pressure from both sides of the supply and demand equation, as
capacity shrinks and demand for higher limits materialises (as the recent loss highlights
the potential to Insureds for a loss of a magnitude higher than most are protected for)
which coupled with the fact the market will be looking to recoup the loss they will have
to payout from this latest incident, is likely to result in a significant increase in offshore
liability insurance premiums.




                                              V:\EJL\LETTERS\201 O\LET 193C (v3) .doc

                                Lloyd's Broker. A company incorporated with liability limited by shares.
          Registered Office: One America Square. London, EC3N 2JL. Registered in England No. 2005745. Vat No. 244 232196.
                                   Authorised and regulated by the Financial Services Authority.
 Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 3 of 15
                                                                                                                         Lloyd &
                                                                                                                         Partners
                                                                                                                         Limited
                                                             3



Proposed changes to legislation.

Currently OPA provides operators of offshore facilities a limitation of USD 75mm for
"Economic Claims" [loss of earnings rather than clean-up costs or property damage
caused by pollution). Any significant increase in this limit will cause Insureds operating in
US Waters to face the prospect of significant self insurance, since (depending on the
amount) the insurance market will not have sufficient capacity to provide cover for this in
addition clean-up costs and third party properties damage suits)




John Lloyd
Chairman and CEO

cc             Honorable Barbara Boxer
               Chairman
               Senate Committee on Environment & Public Works
               410 Dirksen Senate Office Building
               Washington, DC 20510

               Honorable James M. Inhofe
               Ranking Member
               Senate Committee on Environment & Public Works
               456 Dirksen Senate Office Building
               Washington, DC 20510

               Honorable Jeff Bingaman
               Chairman
               Senate Committee on Energy a& Natural Resources
               304 Dirksen Senate Office Building
               Washington, DC 20510

               Honorable Lisa Murkowski
               Ranking Member
               Senate Committee on Energy a& Natural Resources
               304 Dirksen Senate Office Building
               Washington, DC 20510




                                           V:\EJL\LETTERS\201 0\LETl93C Iv3) .doc

                             Lloyd's Broker. A company incorporated with liability limited by shares.
       Registered Office: One America Square. London, EC3N 2JL. Registered in England No. 2005745. Vat No. 244 232196.
                               Authorised and regulated by the Financial Services Authority.
Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 4 of 15
Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 5 of 15
Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 6 of 15




                                                        Fleet Status
                                                        Report
                                                        July 13, 2011




                                        Transocean Ltd. (NYSE: RIG), (SIX: RIGN)
                                                                                          Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 7 of 15




                                                           Transocean Ltd. (NYSE: RIG), (SIX: RIGN) Fleet Status Report

Updated: July 13, 2011
Revisions to Fleet Status Report Noted in Bold
Dynamically positioned 
                                                                                                                                                                                                 Dayrate on            Dayrate on
                                                                   Yr. (1)       Water       Drilling                                             Estimated                                       Current               Previous
                                                 Floater          Entered        Depth       Depth                                                 Contract               Estimated              Contract (3)          Contract (3)             Estimated Out of Service Days (4)
Rig Type/Name                                     Type            Service        (Feet)       (Feet)       Location            Customer          Start Date (2)        Expiration Date (2)        (Dollars)             (Dollars)           Q2 2011   Q3 2011     Q4 2011   Q1 2012

Rigs Under Construction (3)

Keppel FELS Super B Class Jackup TBN1                               TBA           350        35,000        Thailand            Chevron          See Footnote 12         See Footnote 12        See Footnote 12                        N/A        -            -           -            -
Keppel FELS Super B Class Jackup TBN2                               TBA           350        35,000        Thailand            Chevron          See Footnote 13         See Footnote 13        See Footnote 13                        N/A        -            -           -            -
Transocean Honor                                                    TBA           400        30,000     See Footnote 14     See Footnote 14     See Footnote 14         See Footnote 14        See Footnote 14                        N/A        -            -           -            -

High Specification Floaters:
Ultra-Deepwater (27)


Discoverer Americas (6)                           ship            2009         12,000       40,000          USGOM                Statoil                   Mar-11                  Apr-14               486,000               486,000           -            -           -            -
Deepwater Champion (6), (11)                      ship            2011         12,000       40,000     Turkey/Black Sea       ExxonMobil                   May-11                  May-12               690,000                   N/A           -            -           -            -
                                                                                                               TBA             ExxonMobil                   May-12                  Dec-15                  TBA                690,000
Discoverer Clear Leader (6), (15)                 ship            2009         12,000       40,000          USGOM               Chevron                    Sep-10                   Jul-14              504,000               503,000               6        -           -            -
Discoverer Inspiration (6)                        ship            2010         12,000       40,000          USGOM               Chevron                    Sep-10                  Feb-15               506,000               494,000           -            -           -            -
Dhirubhai Deepwater KG1(16)                       ship            2009         12,000       35,000            India            Reliance                    Aug-09                   Jul-14              510,000                   N/A           -                8       -             11
Dhirubhai Deepwater KG2 (16)                      ship            2010         12,000       35,000            India            Reliance                    Mar-10                  Feb-15               510,000                   N/A               2        -           -             11
Discoverer India (17)                             ship            2010         12,000       40,000            India            Reliance                    Dec-10                  Aug-11               508,000                   N/A           -            -           -            -
                                                                                                             USGOM              Reliance                 Aug-11 (29)             Feb-13 (30)             508,000               508,000
                                                                                                               India            Reliance                   Mar-13                  Nov-20                508,000               508,000
Petrobras 10000 (6), (7), (8)                     ship            2009         12,000       37,500           Brazil            Petrobras                  Feb-11                  Aug-19                445,000                   N/A           -            -           -            -
Discoverer Deep Seas (6)                          ship            2001         10,000       35,000          USGOM               Chevron                   Feb-11                   Feb-13               450,000               517,000           -            -           -            -
Discoverer Enterprise (6)                         ship            1999         10,000       35,000          USGOM                  BP                      Jan-11                 Aug-12                435,000               523,000           -            -           -            -
Discoverer Spirit (6)                             ship            2000         10,000       35,000          USGOM              Anadarko                    Apr-11                  Jun-11               540,000               507,000               22        31         -            -
                                                                                                              Liberia           Anadarko                    Jun-11                 Aug-11                       (26)           540,000
                                                                                                                                                                                                     547,000
                                                                                                          Sierra Leone          Anadarko                   Aug-11                  Nov-11            545,000 (26)          547,000 (26)
                                                                                                              Liberia            Chevron                   Nov-11                   Mar-12           564,000 (26)          545,000 (26)
                                                                                                             USGOM              Anadarko                   Mar-12                   Apr-14              540,000            564,000 (26)
GSF C.R. Luigs (6)                                ship            2000         10,000       35,000          USGOM             BHP Billiton                Sep-09                   Feb-14              519,000               411,000            -            -           -            -
GSF Jack Ryan      (6)                            ship            2000         10,000       35,000           Nigeria              Total                    Jun-09                   Jul-13             425,000               297,000                19       -           -            -
Deepwater Discovery (6), (7)                      ship            2000         10,000       30,000           Brazil              Devon                     Oct-09                 Aug-13               463,000               425,000                91        10         -            -
Deepwater Frontier (6)                            ship            1999         10,000       30,000          Australia         ExxonMobil                  Sep-11                  Nov-13               475,000               477,000                30        92              7       -
Deepwater Millennium (6)                          ship            1999         10,000       30,000           Ghana             Anadarko                   Nov-10                    Jul-11             576,000               543,000                13       -               37       -
                                                                                                              Brazil            Anadarko                     Jul-11                May-13             561,000 (7)             576,000
Deepwater Pathfinder       (6)                    ship            1998         10,000       30,000          USGOM                  Eni                    Aug-10                   Apr-15              667,000               550,000            -            -           -            -
Deepwater Expedition (6)                          ship            1999         8,500        30,000          Malaysia         Petronas/BHP                 Dec-10                   Jan-14              640,000               375,000            -            -           -            -
Cajun Express (6), (7), (18)                      semi            2001         8,500        35,000           Brazil            Petrobras                  May-10                   Jun-13              546,000               493,000            -            -           -            -
Deepwater Nautilus (6)                            semi             2000         8,000        30,000          USGOM                 Shell                   Dec-08                   Aug-12              548,000               493,000            -            -           -            -
GSF Explorer                                      ship          1972/1998      7,800        30,000         Indonesia         Marathon-led                 May-10                    Jul-12             510,000               426,000                6        -           -            -
                                                                                                                               Consortium
Discoverer Luanda (6), (16)                       ship            2010          7,500       40,000         Angola                  BP                      Jan-11                  Jan-18               430,000                   N/A           -            -           -            -
GSF Development Driller I (6)                     semi            2005          7,500       37,500         USGOM              BHP Billiton                 Jun-08                  Oct-12               513,000               220,000           -            -           -            -
GSF Development Driller II (6)                    semi            2005          7,500       37,500         USGOM                   BP                      Nov-08                  Nov-13               580,000               208,000           -            -           -            -
Development Driller III (6)                       semi            2009          7,500       37,500         USGOM                   BP                      Nov-09                  Nov-16               403,000                   N/A           -            -           -            -
Sedco Energy                                      semi            2001          7,500       35,000          Ghana                Tullow                    Aug-11                  Aug-13               440,000                   N/A               91        72         -            -
Sedco Express      (6)                            semi            2001          7,500       35,000          Israel           Noble Energy                  Sep-10                  Dec-11               530,000               188,000           -            -           -            -
                                                                                                             Israel           Noble Energy                  Dec-11                  Mar-12               470,000               530,000
                                                                                                             Israel        Israel Oil Company               Mar-12                  May-12               490,000               470,000

                                                                                                                                                                                                  Total Estimated Days Out of Service           280           213          44           22
                                                                                                                                                                                                Estimated Average Contract Dayrate(5)       $517,000      $516,000    $513,000     $518,000




                                                                                                                                                                                                                                                                                              Page 2
                                                                                          Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 8 of 15




                                                           Transocean Ltd. (NYSE: RIG), (SIX: RIGN) Fleet Status Report

Updated: July 13, 2011
Revisions to Fleet Status Report Noted in Bold
Dynamically positioned 
                                                                                                                                                                                            Dayrate on            Dayrate on
                                                                   Yr. (1)       Water       Drilling                                       Estimated                                        Current               Previous
                                                 Floater          Entered        Depth       Depth                                           Contract               Estimated               Contract (3)          Contract (3)             Estimated Out of Service Days (4)
Rig Type/Name                                     Type            Service        (Feet)       (Feet)       Location          Customer      Start Date (2)        Expiration Date (2)         (Dollars)             (Dollars)           Q2 2011   Q3 2011     Q4 2011   Q1 2012
Deepwater (16)

Deepwater Navigator (7), (8)                      ship         1971/2000        7,200       25,000         Brazil           Petrobras                May-11                Feb-16 (27)             381,000               190,000               91        87        -            -
Discoverer 534                                    ship         1975/1991        7,000       25,000        Malaysia                                                           Stacked                                                       -            -          -            -
Discoverer Seven Seas                             ship         1976/1997        7,000       25,000          India            ONGC                      Jul-08                 Jul-11               316,000               292,000           -            -          -            -
Transocean Marianas (6), (28)                     semi          1979/1998        7,000       25,000         Ghana              Eni                     Feb-11                  Dec-12               450,000               565,000               4          1        -            -
Sedco 706 (6), (7)                                semi         1976/1994/       6,500       25,000         Brazil           Chevron                   Apr-09                  Apr-14               311,000                   N/A           -            -              14       -
                                                                   2008
Sedco 702 (6), (7)                                semi          1973/2007       6,500       25,000         Nigeria            Shell                  Mar-08                   Feb-12               354,000                   N/A               10       -              14        48
Sedco 707 (7), (8)                                semi          1976/1997       6,500       25,000         Brazil           Petrobras                Nov-09               Nov-14   (27)            407,000               188,000           -            -          -             25
GSF Celtic Sea                                    semi           1982/1998       5,750       25,000         Angola          ExxonMobil                May-11                   Jul-12               320,000               486,000               91        22        -            -
                                                                                                            Angola          ExxonMobil                 Jul-12                  Jul-13               324,000               320,000
                                                                                                            Angola          ExxonMobil                 Jul-13                  Jul-14               328,000               324,000
Jack Bates                                        semi           1986/1997       5,400       30,000        Australia           Hess                   Sep-11                  Apr-12                380,000               420,000               32        87        -            -
Sedco 709                                         semi          1977/1999       5,000       25,000        Malaysia                                                          Stacked                                                        -            -          -            -
M.G. Hulme, Jr. (7)                               semi           1983/1996       5,000       25,000          India            ONGC                    Sep-11                  Sep-12                260,000                      N/A        -            -          -            -
Transocean Richardson                             semi             1988          5,000       25,000        Malaysia                                                          Stacked                                                        -            -          -            -
Jim Cunningham                                    semi           1982/1995       4,600       25,000        Malaysia                                                          Stacked                                                        -            -          -            -
Sedco 710 (7), (8)                                semi          1983/2001       4,500       25,000         Brazil           Petrobras                Oct-10                Oct-16 (27)             293,000               128,000               34        59        -            -
Transocean Rather                                 semi             1988          4,500       25,000         Angola          ExxonMobil                Sep-10                  May-11                428,000               257,000           -            -          -            -
                                                                                                                                                      May-11                  Jun-11                437,000               428,000
                                                                                                                                                      Jun-11                  Aug-11                256,000               437,000
                                                                                                                                                      Aug-11                  Sep-12                437,000               256,000
Sovereign Explorer                                semi             1984          4,500       25,000        USGOM                                                             Stacked                                                        -            -          -            -

                                                                                                                                                                                             Total Estimated Days Out of Service           262           256         28           73
                                                                                                                                                                                           Estimated Average Contract Dayrate(5)       $370,000      $360,000   $360,000     $357,000

Harsh Environment (5)

Henry Goodrich (6)                                semi           1985/2007       5,000       30,000        Canada             Husky                   Oct-10                  Jan-14                335,000               381,000           -            -              15        84
Transocean Leader (6), (7)                        semi           1987/1997       4,500       25,000         NNS               Statoil                 Sep-09                  Feb-12                471,000               340,000           -            -          -            -
                                                                                                                                                      Feb-12                  Feb-15                405,000               471,000
Paul B. Loyd, Jr. (6), (7)                        semi             1990          2,000       25,000         UKNS                BP                    Apr-09                  Mar-12                510,000               312,000               24       -          -            -
                                                                                                                                                      Mar-12                  Mar-13                346,000               510,000
Transocean Arctic (6), (7)                        semi             1986          1,650       25,000          NNS               Statoil                Jan-07                  May-12                300,000               195,000           -            -          -            -
                                                                                                             NNS          Rig Management              May-12                  May-13                       (20)           300,000
                                                                                                                                                                                                390,000
                                                                                                                              Norway

                                                                                                             NNS          Rig Management              May-13                   Jan-14           395,000 (20)          390,000 (20)
                                                                                                                              Norway
Polar Pioneer (6), (7)                            semi             1985          1,500       25,000          NNS               Statoil                 Feb-10                  Jan-14               516,000               309,000           -            -          -            -

                                                                                                                                                                                             Total Estimated Days Out of Service            24            -          15           84
                                                                                                                                                                                           Estimated Average Contract Dayrate(5)       $427,000      $426,000   $431,000     $438,000




                                                                                                                                                                                                                                                                                        Page 3
                                                                                          Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 9 of 15




                                                           Transocean Ltd. (NYSE: RIG), (SIX: RIGN) Fleet Status Report

Updated: July 13, 2011
Revisions to Fleet Status Report Noted in Bold
Dynamically positioned 
                                                                                                                                                                                           Dayrate on            Dayrate on
                                                                   Yr. (1)       Water       Drilling                                         Estimated                                     Current               Previous
                                                 Floater          Entered        Depth       Depth                                             Contract              Estimated             Contract (3)          Contract (3)               Estimated Out of Service Days (4)
Rig Type/Name                                     Type            Service        (Feet)       (Feet)       Location           Customer       Start Date (2)       Expiration Date (2)       (Dollars)             (Dollars)             Q2 2011   Q3 2011     Q4 2011   Q1 2012
Midwater Floaters (25)

Sedco 700                                         semi           1973/1997       3,600       25,000        Malaysia                                                            Stacked                                                       -            -          -            -
Transocean Legend                                 semi             1983          3,500       25,000     Aus./Timor Leste        Eni                     Jun-10                  Sep-11              298,000              300,000                 31       -          -            -
Transocean Amirante                               semi           1978/1997       3,500       25,000          Egypt          Burullus Gas                Aug-11                 May-12               247,000              364,000                 12        48        -            -
                                                                                                                             Company
GSF Arctic I (6), (7)                             semi           1983/1996       3,400       25,000         Brazil            Starfish                   Jan-11                  Jul-11             250,000              287,000             -            -              61        29
C. Kirk Rhein, Jr.                                semi           1976/1997       3,300       25,000        Malaysia                                                            Stacked                                                       -            -          -            -
Transocean Driller (7), (8)                       semi             1991          3,000       25,000         Brazil            Petrobras                  Jul-10                  Jul-16             269,000              116,000             -            -          -            -
GSF Rig 135                                       semi             1983          2,800       25,000         Nigeria        Addax Petroleum              Apr-11                  Jun-11              264,000                  N/A                 6        -          -            -
                                                                                                            Nigeria        Addax Petroleum              Jun-11                 Aug-11                     (24)           264,000
                                                                                                                                                                                                254,000
GSF Rig 140 (6)                                   semi             1983          2,800       25,000        Eq. Guin.         ExxonMobil                 Dec-09                  Jul-11             435,000               256,000             -             66            14       -
Falcon 100 (7), (8)                               semi          1974/1999        2,400       25,000         Brazil            Petrobras                 Mar-08                  Mar-13              263,000              180,000                 91        84        -            -
GSF Aleutian Key                                  semi          1976/1999/       2,300       25,000         Gabon                                                              Stacked                                                       -            -          -            -
                                                                   2001
Sedco 703                                         semi          1973/1995        2,000       25,000        Malaysia                                                            Stacked                                                       -            -          -            -
             (7)                                  semi             1982          1,800       25,000          UKNS               Shell                   Jan-11                  Oct-11             420,000               383,000             -            -          -            -
Sedco 711
Transocean John Shaw (7)                          semi             1982          1,800       25,000          UKNS             Enquest                   Jan-11                   Jul-11            246,000               228,000             -            -          -            -
                                                                                                             UKNS             Enquest                    Jul-11                 Oct-11             255,000               246,000
GSF Arctic III                                    semi             1984          1,800       25,000          UKNS            ExxonMobil                  Jul-10                 Sep-11        254,000 (6), (7)               N/A             -            -          -            -
                                                                                                            Ireland          Providence                 Sep-11                 Nov-11             250,000                    (6), (7)
                                                                                                                                                                                                                   254,000
Sedco 712                                         semi             1983          1,600       25,000          UKNS                                                              Stacked                                                       -            -          -            -
             (7)                                  semi           1983/1997       1,600       25,000          UKNS              Total                     Jun-11                 Dec-11              254,000              256,000             -            -          -            -
Sedco 714
GSF Grand Banks (6) (8)                           semi             1984          1,500       25,000        Canada              Husky                     Jan-11                 Jan-13              298,000              356,000             -            -          -             55
Actinia                                           semi             1982          1,500       25,000        Malaysia                                                                Idle                                                      -            -          -            -
Sedco 601                                         semi             1983          1,500       25,000        Malaysia                                                            Stacked                                                       -            -          -            -
Sedneth 701                                       semi           1972/1993       1,500       25,000         Gabon          Harvest Natural               Apr-11                 Jul-11              210,000                     N/A              23       -          -            -
                                                                                                                             Resources
Transocean Winner (6), (7)                        semi             1983          1,500       25,000          NNS               Lundin                   Apr-10                  Oct-12              484,000              390,000             -             73        -            -
Transocean Searcher (6), (7)                      semi           1983/1988       1,500       25,000          NNS               Statoil                  May-09                  Apr-12              435,000              395,000             -            -          -            -
                                                                                                             NNS                BG                      May-12                   Jul-13         380,000 (25)             435,000
                        (7)                       semi           1983/1992       1,500       25,000          UKNS              Nexen                    Jun-11                  Feb-13             245,000                   N/A             -            -          -            -
Transocean Prospect
J.W. McLean                                       semi           1974/1996       1,250       25,000          UKNS                                                              Stacked                                                       -            -          -            -
Sedco 704                                         semi           1974/1993       1,000       25,000          UKNS               ADTI                    Jan-11                  Sep-11     See Footnote 9              417,000               -            -          -            -
                                                                                                             UKNS               ADTI                    Sep-11                  Oct-11     See Footnote 9        See Footnote 9
                                                                                                             UKNS            Premier Oil                Oct-11                  Dec-11           255,000         See Footnote 9

                                                                                                                                                                                            Total Estimated Days Out of Service             163           271         75           84
                                                                                                                                                                                          Estimated Average Contract Dayrate(5)         $321,000      $300,000   $313,000     $336,000




                                                                                                                                                                                                                                                                                         Page 4
                                                                                          Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 10 of 15




                                                           Transocean Ltd. (NYSE: RIG), (SIX: RIGN) Fleet Status Report

Updated: July 13, 2011
Revisions to Fleet Status Report Noted in Bold
Dynamically positioned 
                                                                                                                                                                                              Dayrate on          Dayrate on
                                                                   Yr. (1)       Water       Drilling                                           Estimated                                      Current             Previous
                                                 Floater          Entered        Depth       Depth                                               Contract               Estimated             Contract (3)        Contract (3)              Estimated Out of Service Days (4)
Rig Type/Name                                     Type            Service        (Feet)       (Feet)       Location           Customer         Start Date (2)        Expiration Date (2)       (Dollars)           (Dollars)            Q2 2011   Q3 2011     Q4 2011   Q1 2012
High Specification Jackups (9)


GSF Constellation I (6)                                             2003          400         30,000        Gabon               Total                     Dec-10                  Mar-12              100,000             110,000            -            -          -            -
                                                                                                            Gabon            Mitsubishi                   Mar-12                  May-12              140,000             100,000
GSF Constellation II (21)                                           2004          400         30,000        Egypt         Pharonic Petroleum              Feb-10                  Jan-12              109,000             194,000            -            -          -             63
                                                                                                                              Company

GSF Galaxy I                                                     1991/2001        400         30,000        UKNS                                                                  Stacked                                                    -            -          -            -
                 (7)                                               1998           400         30,000        UKNS              GDF Suez                     Jul-11                 May-12              170,000                    N/A             62       -          -            -
GSF Galaxy II


GSF Galaxy III (6), (7)                                             1999          400         30,000        UKNS               Nexen                      Oct-07                   Sep-11             110,000             100,000            -            -          -            -
                                                                                                            UKNS               Nexen                      Sep-11                   Sep-12             147,000             110,000
GSF Baltic (6), (7)                                                 1983          375         25,000        Nigeria          ExxonMobil                   Jun-10                   Jun-12             100,000             248,000            -            -          -             47
GSF Magellan                                                        1992          350         30,000       Holland                                                                                                                               91        20        -            -
GSF Monarch (6)                                                     1986          350         30,000       Denmark            Maersk Oil                   Jul-11                  Jul-12              93,000                    N/A         -            -          -            -
GSF Monitor                                                         1989          350         30,000        Nigeria             Total                      Mar-11                  Jul-11             110,000                    N/A         -            -          -            -



                                                                                                                                                                                               Total Estimated Days Out of Service          153            20         -           110
                                                                                                                                                                                             Estimated Average Contract Dayrate(5)      $110,000      $114,000   $120,000     $124,000

Standard Jackups (51) - See Footnote 19

Trident IX                                                         1982           400         21,000       Malaysia            Petrofac                     Jul-11                  Jul-13            114,000                    N/A         -            -          -                5
Trident 17                                                         1983           300         25,000       Malaysia                                                               Stacked                                                    -            -          -            -
GSF Adriatic II                                                    1981           350         25,000        Gabon                                                                 Stacked                                                    -            -          -            -
GSF Adriatic IX                                                    1981           350         25,000        Nigeria             Afren                      Jan-11                   Jul-11             92,000              90,000            -            -          -             31
                                                                                                            Nigeria             Afren                       Jul-11                Aug-12              100,000              92,000
GSF Adriatic X                                                     1982           350         30,000        Nigeria        Addax Petroleum                 Jun-11                  Nov-11             110,000                 N/A                45       -          -            -
GSF Key Manhattan                                                  1980           350         25,000          Italy              Eni                       Apr-10                  Apr-13             137,000                 N/A            -            -          -            -
GSF Key Singapore                                                  1982           350         25,000        Egypt                                                                 Stacked                                                    -            -          -            -
GSF Adriatic VI                                                    1981           328         25,000        Gabon                                                                 Stacked                                                    -            -          -            -
GSF Adriatic VIII                                                  1983           328         25,000        Gabon                                                                 Stacked                                                    -            -          -            -
C.E. Thornton (7)                                                  1974           300         25,000         India             ONGC                        Oct-08                  Sep-11             132,000              45,000            -            -          -            -
D.R. Stewart                                                       1980           300         25,000        Croatia                                                               Stacked                                                    -            -          -            -
F.G. McClintock                                                    1975           300         25,000         India             ONGC                        Oct-08                  Sep-11             145,000              50,000            -            -          -            -
GSF Adriatic I                                                     1981           300         25,000        Gabon                                                                 Stacked                                                    -            -          -            -
GSF Adriatic V                                                     1979           300         25,000        Gabon                                                                 Stacked                                                    -            -          -            -
GSF Adriatic XI                                                    1983           300         25,000       Malaysia                                                               Stacked                                                    -            -          -            -
GSF Compact Driller                                                1992           300         25,000       Thailand            Chevron                     Oct-09                  Apr-12         100,000 (22)            196,000                3        -          -            -
                                                                                                                                                           Apr-12                  Dec-12            100,000                     (22)
                                                                                                                                                                                                                       100,000
GSF Galveston Key                                                  1978           300         25,000       Vietnam          Cuu Long JOC                   Mar-11                  Nov-11            103,000              100,000            -            -          -            -
                       (22)                                     1976/1996         300         25,000       Thailand           Chevron                       Jul-11                 Jun-14            105,000                  N/A                60       -          -            -
GSF Key Gibraltar
GSF Key Hawaii                                                     1982           300         25,000       Bahrain                                                                    Idle                                                   -            -          -            -
GSF Main Pass I                                                    1982           300         25,000     Saudi Arabia       Saudi Aramco                  Jun-11                   Sep-14              73,000             164,000            -            -          -             85
GSF Main Pass IV                                                   1982           300         25,000     Saudi Arabia       Saudi Aramco                   Jul-11                  Oct-14              73,000             164,000            -            -              85       -
GSF Parameswara                                                    1983           300         20,000      Indonesia            Total                      Nov-09                   Dec-12             122,000             168,000            -            -          -            -
GSF Rig 134                                                        1982           300         20,000       Malaysia                                                               Stacked                                                    -            -          -            -
GSF Rig 136                                                     1982/1999/        300         25,000       Malaysia                                                               Stacked                                                    -            -          -            -
                                                                   2002




                                                                                                                                                                                                                                                                                          Page 5
                                                                                          Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 11 of 15




                                                           Transocean Ltd. (NYSE: RIG), (SIX: RIGN) Fleet Status Report

Updated: July 13, 2011
Revisions to Fleet Status Report Noted in Bold
Dynamically positioned 
                                                                                                                                                                                            Dayrate on          Dayrate on
                                                                       (1)
                                                                   Yr.           Water       Drilling                                          Estimated                                     Current             Previous
                                                 Floater          Entered        Depth       Depth                                              Contract              Estimated             Contract (3)        Contract (3)             Estimated Out of Service Days (4)
Rig Type/Name                                     Type            Service        (Feet)       (Feet)       Location          Customer         Start Date (2)       Expiration Date (2)       (Dollars)           (Dollars)           Q2 2011   Q3 2011     Q4 2011   Q1 2012
Harvey H. Ward                                                     1981           300        25,000        Malaysia                                                                 Idle                                                  -         -           -          -
Interocean III                                                   1978/1993        300        25,000         Egypt                                                              Stacked                                                    -         -           -          -
J.T. Angel                                                         1982           300        25,000          India             ONGC                      May-10                 May-13               65,000                    N/A          11      -           -          -
Randolph Yost                                                      1979           300        25,000          India                                                             Stacked                                                    -         -           -          -
Roger W. Mowell                                                    1982           300        25,000        Malaysia                                                            Stacked                                                    -         -           -          -
Ron Tappmeyer                                                      1978           300        25,000          India             ONGC                       Jun-10                Jun-13               65,000              64,000           -         -             30       -
Transocean Shelf Explorer                                          1982           300        20,000        Malaysia                                                            Stacked                                                    -         -           -          -
Transocean Nordic                                                  1984           300        25,000        Malaysia                                                            Stacked                                                    -         -           -          -
Trident 15 (23)                                                    1982           300        25,000        Thailand           Chevron                     Feb-10                Feb-12              100,000             100,000           -         -           -          -
                                                                                                                                                          Feb-12                Jun-13              100,000             100,000
Trident 16 (6)                                                     1982           300         25,000       Malaysia       Petronas Carigali               Apr-11               Aug-11               180,000             189,000           -           -          -           -
Trident II                                                       1977/1985        300         25,000         India             ONGC                       Mar-10                Apr-15               78,000             140,000           -           -              14      -
Trident IV-A                                                     1980/1999        300         25,000        Gabon                                                              Stacked                                                    -           -          -           -
Trident VIII                                                       1981           300         21,000       Gabon             Perenco                     Nov-10                 Aug-11               85,000              83,000           -            16            19      -
                                                                                                           Gabon             Perenco                     Oct-11                 Apr-13               96,000              85,000
Trident XII                                                      1982/1992        300         25,000        India             ONGC                       May-10                May-13                65,000             140,000               20      -          -            14
               (7)                                               1982/1994        300         25,000       Angola            Chevron                     May-11                 Nov-11                                                    -           -          -           -
Trident XIV                                                                                                                                                                                         105,000             154,000
GSF High Island II                                                 1979           270         20,000     Saudi Arabia      Saudi Aramco                   Jul-11                Oct-14               73,000             164,000           -           -          -            85
GSF High Island IV                                               1980/2001        270         20,000     Saudi Arabia      Saudi Aramco                  May-07                  Jul-11             164,000             107,000           -            82            23      -
                                                                                                                                                         Oct-11                 Oct-14               73,000             164,000
GSF High Island V                                                  1981           270         20,000        Gabon                                                              Stacked                                                    -           -          -           -
GSF High Island IX                                                 1983           250         20,000        Ghana                                                              Stacked                                                    -           -          -           -
GSF High Island VII                                                1982           250         20,000       Nigeria             Afren                     Dec-10                 Oct-11               88,000              88,000               10      -          -           -
GSF Rig 103                                                        1974           250         20,000        Egypt                                                              Stacked                                                    -           -          -           -
GSF Rig 105                                                        1975           250         20,000        Egypt             Petrobel                    Jan-11                Feb-12               62,000             112,000           -           -          -           -
GSF Rig 124                                                        1980           250         20,000        Egypt             Petrobel                    Jun-11                Aug-11               63,000                 N/A           -           -          -           -
GSF Rig 127                                                        1981           250         20,000       Bahrain                                                             Stacked                                                    -           -          -           -
GSF Rig 141                                                        1982           250         20,000        Egypt             GUPCO                       Jul-11                 Jul-13              55,000                 N/A               18      -          -           -
Transocean Comet                                                   1980           250         20,000        Egypt             GUPCO                      Sep-09                 Sep-12               50,000             112,000           -           -          -           -
Trident VI                                                         1981           220         21,000       Malaysia                                                            Stacked                                                    -           -          -           -

                                                                                                                                                                                             Total Estimated Days Out of Service         167           98        171         220
                                                                                                                                                                                           Estimated Average Contract Dayrate(5)     $111,000      $93,000    $87,000     $85,000

Swamp Barges (1) - See Footnote 19

Hibiscus (6), (16)                                               1979/1993         25         20,000       Indonesia            Total                     Oct-07                Nov-12               72,000              74,000           -               6           1      -

Other (1)

Joides Resolution (6), (16)                       ship            1978         27,000        30,000      Worldwide           TAMRF                       Jan-09                Nov-13               68,000              35,000           -           -          -           -


Fixed-Price Options (10)                                                                                                                                                                                                             1,049          864        334         593
High Specification Floaters:
Ultra-Deepwater

Discoverer Enterprise (6)                         ship            1999         10,000        35,000        USGOM              BP                        Aug-12                  Jan-13             435,000             435,000
GSF Explorer                                      ship          1972/1998      7,800         30,000       Indonesia       Marathon-led                   Jul-12                 Oct-12             510,000             510,000
                                                                                                                           Consortium




                                                                                                                                                                                                                                                                                    Page 6
                                                                                                  Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 12 of 15




                                                                  Transocean Ltd. (NYSE: RIG), (SIX: RIGN) Fleet Status Report

Updated: July 13, 2011
Revisions to Fleet Status Report Noted in Bold
Dynamically positioned 
                                                                                                                                                                                                              Dayrate on            Dayrate on
                                                                               (1)
                                                                            Yr.          Water        Drilling                                                  Estimated                                      Current               Previous
                                                    Floater                Entered       Depth        Depth                                                      Contract              Estimated              Contract (3)          Contract (3)             Estimated Out of Service Days (4)
Rig Type/Name                                        Type                  Service       (Feet)        (Feet)       Location             Customer              Start Date (2)       Expiration Date (2)        (Dollars)             (Dollars)           Q2 2011   Q3 2011     Q4 2011   Q1 2012
Harsh Environment

Transocean Leader (6), (7)                            semi                1987/1997      4,500        25,000          NNS                  Statoil                         Feb-15                 Feb-16              405,000             471,000
Paul B. Loyd, Jr. (6), (7)                            semi                  1990         2,000        25,000          UKNS                  BP                             Mar-13                 Jun-13              346,000             346,000
                                                                                                                                                                           Jun-13                 Sep-13              346,000             346,000
Transocean Arctic (6), (7)                            semi                  1986         1,650        25,000          NNS             Rig Management                       Jan-14                 Jan-15           399,000 (20)         395,000 (20)
                                                                                                                                          Norway

Midwater Floaters

GSF Arctic III                                        semi                  1984         1,800        25,000         Ireland            Providence                        Oct-11                  Dec-11              250,000          250,000 (5),(6)
GSF Rig 135                                           semi                  1983         2,800        25,000         Nigeria          Addax Petroleum                     Aug-11                  Jan-12           254,000 (24)            254,000
                            (6), (7)
Transocean Searcher                                   semi                1983/1988      1,500        25,000           NNS                  BG                             Jul-13                 Jan-15           370,000 (25)            380,000
Transocean Prospect (7)                               semi                1983/1992      1,500        25,000          UKNS                Nexen                           Feb-13                  Aug-13              245,000              245,000

High Specification Jackups

GSF Constellation II (21)                                                   2004          400         30,000          Egypt              Pharaonic                         Mar-12                  Jun-12             115,000                 109,000
                                                                                                                                    Petroleum Company

                                                                                                                                                                          Jun-12                  Dec-12              110,000                 115,000
                 (6), (7)                                                   1999          400         30,000         UKNS                Nexen                            Sep-12                  Mar-13              147,000                 147,000
GSF Galaxy III
GSF Monarch (6)                                                             1986          350         30,000        Denmark             Maersk Oil                         Jul-12                 Nov-12               92,000                  93,000
                                                                                                                                                                          Nov-12                  Mar-12               92,000                  92,000
                                                                                                                                                                          Mar-12                   Jul-13              92,000                  92,000


Standard Jackups

GSF Adriatic X                                                              1982          350         30,000         Nigeria          Addax Petroleum                     Nov-11                  May-12              110,000                 110,000
GSF Rig 124                                                                 1980          250         20,000         Egypt               Petrobel                         Aug-11                  Dec-11               63,000                  63,000
Trident VIII                                                                1981          300         21,000         Gabon               Perenco                          Apr-13                  Oct-13          Footnote 31                  96,000

Other

Joides Resolution (6)                                 ship                 1978         27,000       30,000       Worldwide              TAMRF                           Nov-13                  Sep-23                68,000                 68,000




Revenue Efficiency
Revenue Efficiency is defined as actual contract drilling revenue divided by the highest amount of total contract drilling revenue which could have been earned during the relevant period(s) expressed as a percentage. Revenue Efficiency
measures how much revenue we have earned against our maximum potential revenue per the contract. Revenue Efficiency does not apply during Out of Service Days (Shipyard, Mobilizations, Demobilizations, Contract Preparation). The
following table has been restated for Caspian Sea discontinued operations.

                                                                       Q1 2011 Actual           Q4 2010 Actual     Q3 2010 Actual        Q2 2010 Actual          Q1 2010 Actual           Q4 2009 Actual       Q3 2009 Actual       Q2 2009 Actual
Ultra Deepwater                                                                85.3%                    86.1%              86.5%                 89.1%                   92.2%                    92.2%                92.7%                97.7%
Deepwater                                                                      88.2%                    88.6%              90.1%                 92.8%                   89.7%                    91.9%                91.3%                83.2%
Harsh Environment Floaters                                                     99.2%                    96.1%              96.4%                 96.9%                   94.8%                    97.7%                97.2%                97.9%
Midwater Floaters                                                              93.6%                    85.0%              96.2%                 93.9%                   94.7%                    95.1%                97.4%                91.9%
High Specification Jackups                                                     95.1%                    97.7%              93.3%                 98.9%                   92.5%                    98.2%                94.7%                94.7%
Standard Jackups                                                               97.7%                    98.9%              96.4%                 97.3%                   97.1%                    93.7%                98.4%                95.3%
Others                                                                         99.0%                    96.1%              99.6%                 98.5%                   99.5%                    98.7%                84.8%                99.5%
Total Fleet                                                                    90.0%                    88.7%              91.8%                 92.8%                   93.2%                    93.5%                95.0%                93.1%

Estimated Contract Drilling Revenue can be calculated as:               Paid Days on Contract * Average Contract Dayrate * Revenue Efficiency




                                                                                                                                                                                                                                                                                                   Page 7
                                                          Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 13 of 15




                                                          Transocean Ltd. (NYSE: RIG), (SIX: RIGN) Fleet Status Report

Updated: July 13, 2011
Revisions to Fleet Status Report Noted in Bold


Stacked Rigs
Rig Type/Name                              Start Date
Deepwater (5)

Discoverer 534                             6/16/2011
Sedco 709                                 Prior to 2010
Transocean Richardson                      3/15/2011
Jim Cunningham                             5/13/2010
Sovereign Explorer                         11/1/2010

Midwater Floaters (7)

Sedco 700                                 Prior to 2010
C. Kirk Rhein, Jr.                        Prior to 2010
GSF Aleutian Key                            1/9/2010
Sedco 703                                 Prior to 2010
Sedco 712                                 Prior to 2010
Sedco 601                                   4/9/2011
J.W. McLean                                4/13/2011

High Specification Jackups (1)

GSF Galaxy I                              Prior to 2010

Standard Jackups (22)

Trident 17                                Prior to 2010
GSF Adriatic II                           Prior to 2010
GSF Key Singapore                          10/21/2010
GSF Adriatic VI                           Prior to 2010
GSF Adriatic VIII                           7/3/2010
D.R. Stewart                                8/7/2010
GSF Adriatic I                            Prior to 2010
GSF Adriatic V                            Prior to 2010
GSF Adriatic XI                           Prior to 2010
GSF Rig 134                                 5/3/2010
GSF Rig 136                               Prior to 2010
Interocean III                            Prior to 2010
Randolph Yost                              9/15/2010
Roger W. Mowell                            8/29/2010
Transocean Shelf Explorer                 Prior to 2010
Transocean Nordic                         Prior to 2010
Trident IV-A                              Prior to 2010
GSF High Island V                         Prior to 2010
GSF High Island IX                        Prior to 2010
GSF Rig 103                               Prior to 2010
GSF Rig 127                               Prior to 2010
Trident VI                                Prior to 2010

Idle Rigs
Rig Type/Name                              Start Date

Standard Jackups (2)

GSF Key Hawaii                              6/6/2011
Harvey H. Ward                             10/6/2010

Midwater Floaters (1)
Actinia                                    11/19/2010


Stacked and Idle rigs detailed above are not currently operating on contract. Start date denotes when rig commences idle or stacked status.
An "Idle" rig is between contracts, readily available for operations, and operating costs are typically at or near normal levels. A "Stacked" rig, on the other hand, is manned by a reduced crew or unmanned and
typically has reduced operating costs and is (i) preparing for an extended period of inactivity, (ii) expected to continue to be inactive for an extended period, or (iii) completing a period of extended inactivity.
However, stacked rigs will continue to incur operating costs at or above normal operating costs for 30 to 60 days following initiation of stacking.




                                                                                                                                                                                                                         Page 8
                                                            Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 14 of 15




                                                         Transocean Ltd. (NYSE: RIG), (SIX: RIGN) Fleet Status Report

Updated: July 13, 2011
Revisions to Fleet Status Report Noted in Bold

Footnotes
                (8)                                                                                                                                                                                                           (9)
 (1) Dates shown are the original service date and the date of the most recent upgrade, if any.

 (2) As of April 2, 2009, Estimated Contract Start and Estimated Expiration Dates are calculated as follows: (1) for events estimated to occur between the 1st and 15th of a month, the previous month is reported

     (i.e. a contract which is estimated to commence on May 4, 2009 will be reported as commencing in April 2009) and (2) for events estimated to occur between the 16th and the end of a month, the actual
     month is reported (i.e. a contract which is estimated to commence on May 24, 2009 will be reported as commencing in May 2009). Expiration dates represent the company's current estimate of the earliest
     date the contract for each rig is likely to expire. Some rigs have two or more contracts in continuation, so the last line shows the estimated earliest availability. Many contracts permit the customer to extend the
     contract.
 (3) Represents the full operating dayrate, although the average dayrate over the term of the contract will be lower and could be substantially lower. Does not reflect incentive programs which are typically based

     on the rig's operating performance against a performance curve. Please refer to the “Customer Contract Duration and Dayrates and Risks Associated with Operations” section of the Disclaimers & Definitions
     for a description of dayrates. This column may not reflect the rate currently being received under the contract as a result of an applicable standby rate or other rate, which typically is less than the contract
     dayrate.
 (4) The out of service time represents those days where a rig is scheduled to be out of service and not be available to earn an operating dayrate. Please refer to the “Out of Service Days (Shipyards,

     Mobilizations, Demobilizations, Contract Preparation)” section of the Disclaimers & Definitions for a full description.
 (5) Estimated Average Contract Dayrate is defined as the average contracted full operating dayrate to be earned per revenue earning day. See note (3) for definition of full operating dayrate.

 (6) Reflects the current contracted dayrate which could reflect prior cost escalations and could change in the future due to further cost escalations.

 (7) Reflects the current
                   (11) (5)contracted dayrate which is comprised of a foreign currency component and which could change due to foreign exchange adjustments.
 (8) Current contract provides for a bonus incentive opportunity not reflected in the stated current contract dayrate.

 (9) For the period of time that this rig is contracted to Applied Drilling Technology International, the drilling management services division of the company's U.K. operating subsidiary, or Applied Drilling Technology

     Inc., the company's U.S. drilling management services subsidiary, accounting rules require that we eliminate the revenues and costs related to those contracts from the contract drilling segment of the
     consolidated statement of operations. Revenues from turnkey contracts will be recognized in other revenues and are contingent upon successful completion of the well program.
(10) Fixed price options may be exercised at the customer’s discretion. During periods when dayrates on new contracts are increasing relative to existing contracts, the likelihood of customers’ exercising fixed

     price options increases. During periods when dayrates on new contracts are decreasing relative to existing contracts, the likelihood of customers’ exercising fixed price options declines.
(11) Until May 2012, the Deepwater Champion will operate in Turkey (Black Sea) at $690,000.  Subsequent operating location is yet to be determined, and the dayrate under the contract could change
       depending on the country of future operations. For example, the dayrate could change to $640,000 or $650,000 if the operating location of the rig is moved to the USGOM or Brazil, respectively.

(12) We have been awarded a five-year drilling contract by Chevron which requires the construction and operation of a yet to be named Keppel FELS Super B Class Jackup.         Operations are expected to
       commence during the first quarter of 2013, after shipyard construction followed by sea trials, mobilization to Thailand and customer acceptance. The contract commencement date is contingent on vendor
       performance and other factors. During the first 36 months of the contract, the contract dayrate is $135,000, excluding escalation. The dayrate may be adjusted for the remaining 24 months based on market
       dayrates within specific parameters.
(13) We have been awarded a five-year drilling contract by Chevron which requires the construction and operation of a yet to be named Keppel FELS Super B Class Jackup.         Operations are expected to
       commence during the third quarter of 2013, after shipyard construction followed by sea trials, mobilization to Thailand and customer acceptance. The contract commencement date is contingent on vendor
       performance and other factors. During the first 36 months of the contract, the contract dayrate is $135,000, excluding escalation. The dayrate may be adjusted for the remaining 24 months based on market
       dayrates within specific parameters.
(14) In November 2010 we agreed to purchase a Pacific Class 400 design jackup to be named Transocean Honor.              Construction of the jackup is expected to be completed in the fourth quarter of 2011. We are
       actively marketing the jackup.
(15) Until August 2012, the contract dayrate is $469,000, subject to cost escalation. The dayrate for the remainder of the contract is linked to the standard West Texas Intermediate crude oil price with a floor of

       $40 per barrel resulting in a contract dayrate of $400,000 and a ceiling of $70 per barrel resulting in a contract dayrate of $500,000, subject to cost escalation.
(16) The rig is owned by a joint venture in which the company owns less than a 100 percent interest.             Dayrate reflects 100 percent of the contract rate.
(17) The customer may elect to have the operating dayrate for the last five years of the contract fluctuate based on crude oil price with a floor of $458,250 corresponding to a crude oil price of less than or equal to

       $50 per barrel, and a ceiling of $558,250 corresponding to a crude oil price of $100 per barrel or greater.
(18) The customer has the right to convert the three-year contract to a five-year contract until July 29, 2011.

(19) At June 30, 2011, GSF Britannia, GSF Labrador, and G.H. Galloway were classified as held for sale.              In July 2011, Searex 4 met the criteria for and was reclassified to held for sale. Transocean will
       no longer include these rigs in the Fleet Status Report.
(20) The contract with Rig Management Norway led consortium permits the rig to drill HPHT well(s) at $400,000 and to drill well(s) in the Barents Sea, Norway at $425,000.    The contract also guarantees a
     minimum average dayrate of $403,000 during the firm term.
(21) The contract includes three optional wells. The first optional well has a dayrate of $115,000. The dayrate for the second and third optional well will be adjusted based on market dayrates within specific

     parameters.
(22) Dayrate is fixed for first 6 months then subject to quarterly adjustment based on market dayrates within specific parameters.

(23) Dayrate subject to annual adjustment based on market dayrates within specific parameters.

(24) The dayrate for the June 2011 to August 2011 period and the entire option period will be $254,000 if the customer exercises both options included in the option period.

(25)
     The dayrate for the entire contract duration will become $370,000, excluding escalation and foreign currency component adjustment, if the customer exercises the option.
(26)
     Dayrate excludes tax amounts, to be determined, for which Transocean will be reimbursed.
(27) While the customer has the option to add any out of service days to the end of the contract, the Estimated Expiration Date does not reflect any extension due to this option until actually exercised by the

     customer.
(28) On July 6, 2011, the Transocean Marianas experienced an operational incident.             We are in the process of evaluating the potential impact of the incident and will update any changes in the status
       of the rig in future reports.
(29) Reported segment includes mobilization or demobilization days from one location to another. The mobilization days shall be paid at a mobilization dayrate of less than or equal to half of the full

       operating dayrate. Once the mobilization has been completed, the mobilization days will be added to the end of the contract and the Estimated Expiration Date will be updated to reflect this
       extension.
(30) The customer has the right to extend the program in USGOM for another 6 months.

(31) The customer has the option to extend the contract for an additional six month period at any time prior to October 30, 2012 at a dayrate with a floor of $85,000 and a ceiling of $130,000, to be

       mutually agreed upon between us and the customer at the time of exercise.




                                                                                                                                                                                                                Page 9
                                            Case 2:10-md-02179-CJB-DPC Document 4457-19 Filed 11/01/11 Page 15 of 15




                                   Transocean Ltd. (NYSE: RIG), (SIX: RIGN) Fleet Status Report




                                                                          DISCLAIMERS & DEFINITIONS
The information contained in this Fleet Status Report (the “Information”) is as of the date of the report only and is subject to change without notice to the recipient.
Transocean Ltd. assumes no duty to update any portion of the Information.

DISCLAIMER. NEITHER TRANSOCEAN LTD. NOR ITS AFFILIATES MAKE ANY EXPRESS OR IMPLIED WARRANTIES (INCLUDING, WITHOUT LIMITATION,
ANY WARRANTY OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE OR USE) REGARDING THE INFORMATION CONTAINED IN THIS
REPORT, WHICH INFORMATION IS PROVIDED “AS IS.” Neither Transocean Ltd. nor its affiliates will be liable to any recipient or anyone else for any inaccuracy,
error or omission, regardless of cause, in the information set forth in this report or for any damages (whether direct or ind irect, consequential, punitive or exemplary)
resulting therefrom.

No Unauthorized Publication or Use. All information provided by Transocean in this report is given for the exclusive use of the recipient and may not be publishe d,
redistributed or retransmitted without the prior written consent of Transocean.

Customer Contract Duration, Timing and Dayrates and Risks Associated with Operations. The duration and timing (including both starting and ending dates) of
the customer contracts are estimates only, and customer contracts are subject to cancellation, suspension and delays for a va riety of reasons, including some beyond
the control of Transocean. Also, the dayrates set forth in the report are estimates based upon the full contractual operating dayrate. However, the actual average
dayrate earned over the course of any given contract will be lower and could be substantially lower. The actual average dayra te will depend upon a number of factors
(rig downtime, suspension of operations, etc.) including some beyond the control of Transocean. Our customer contracts and op erations are generally subject to a
number of risks and uncertainties, and we urge you to review the description and explanation of such risks and uncertainties in our filings with the Securities and
Exchange Commission (SEC), which are available free of charge on the SEC’s website at www.sec.gov. The dayrates do not inclu de revenue for mobilizations,
demobilizations, upgrades, shipyards or recharges.

Out of Service Days (Shipyards, Mobilizations, Demobilizations,Contract Preparation). Changes in estimated out of service time are noted where changes in the
time Transocean anticipates that a rig is scheduled to be out of service and not be available to earn an operating dayrate ha ve changed by a period of 30 days or
longer for High Specification Floaters or 60 days or longer for all other rig classifications since the previously issued Mon thly Fleet Update Summary or Comprehensive
Fleet Status Report. The changes to estimated out of service time included in this Fleet Status may not be firm and could change significantly based on a variety of
factors. Any significant changes to our estimates of out of service time will be reflected in subsequent Monthly Fleet Updates and Comprehensive Fleet Status
Reports, as applicable.

Contract Preparation refers to periods during which the rig is undergoing modifications or upgrades as a result of contract r equirements. Shipyards refers to periods
during which the rig is out of service as a result of other scheduled shipyards, surveys, repairs, regulatory inspections or other scheduled service or work on the rig.

In some instances such as certain mobilizations, demobilizations, upgrades and shipyards, we are paid compensation by our customers that is generally recognized
over the life of the primary contract term of the drilling project, although such compensation is not typically significant in relation to the revenues generated by the
dayrates we charge our customers. When mobilization or demobilization occurs during a contract period, we recognize revenue s as earned. In instances where
mobilization or demobilization time occurs before or between the start of a contract period, the stated estimated contract start date represents the expected
commencement date for the primary contract term of the drilling project and the point at which we expect to begin recognizing revenues.
Forward-Looking Statement. The statements made in the Fleet Update that are not historical facts are forward-looking statements within the meaning of Section 27A
of the Securities Act of 1933 and Section 21E of the Securities Exchange Act of 1934. Forward-looking statements made in the Fleet Update include, but are not
limited to, statements involving the estimated duration of customer contracts, contract dayrate amounts, future contract comm encement dates and locations and
planned shipyard projects and other out of service time. Such statements are subject to numerous risks, uncertainties and ass umptions, including but not limited to,
uncertainties relating to the level of activity in offshore oil and gas exploration and development, exploration success by producers, oil and gas prices, competition and
market conditions in the contract drilling industry, shipyard delays, actions and approvals of third parties, possible cancellation or suspension of drilling contracts as a
result of mechanical difficulties or performance, Transocean’s ability to enter into and the terms of future contracts, the a vailability of qualified personnel, labor relations
and the outcome of negotiations with unions representing workers, operating hazards, factors affecting the duration of contra cts including well-in-progress provisions,
the actual amount of downtime, factors resulting in reduced applicable dayrates, hurricanes and other weather conditions, ter rorism, political and other uncertainties
inherent in non-U.S. operations (including the risk of war, civil disturbance, seizure or damage of equipment and exchange and c urrency fluctuations), the impact of
governmental laws and regulations, the adequacy of sources of liquidity, the effect of litigation and contingencies and other factors described above and discussed in
Transocean’s most recently filed Form 10-K, in Transocean’s Forms 10-Q for subsequent periods and in Transocean’s other filings with the SEC, which are available
free of charge on the SEC’s website at www.sec.gov. Should one or more of these risks or uncertainties materialize, or should underlying assumptions prove incorrect,
actual results may vary materially from those indicated. You should not place undue reliance on forward-looking statements. Each forward-looking statement speaks
only as of the date of the particular statement, and we undertake no obligation to publicly update or revise any forward look ing statements, except as required by law.

Fleet Classification. Transocean uses a rig classification for its semisubmersible rigs and drillships to reflect the company’s strategic focus on the ownership and
operation of premium, high specification floating rigs. The rig classification “High Specification Floaters” is comprised of “Ultra-Deepwater” which refers to the latest
generation of semisubmersible rigs and drillships possessing the latest technical drilling capabilities and the ability to operate in water depths equal to or greater than
7,500 feet, “Deepwater” which refers to semisubmersible rigs and drillships that possess the ability to drill in water depths equal to or greater than 4,500 feet, and
“Harsh Environment” comprised of five of the company’s premium harsh environment rigs, the semisubmersibles Henry Goodrich, T ransocean Leader, Paul B. Loyd,
Jr., Transocean Arctic and Polar Pioneer. The category titled “Midwater Floaters” represents semisubmersible rigs and drillsh ips that possess the ability to drill in water
depths of up to 4,499 feet. The jackup fleet is subdivided into two categories; "High Specification" which consists of harsh environment and high performance jackups
and "Standard".

Stacking. An "Idle" rig is between contracts, readily available for operations, and operating costs are typically at or near normal levels. A "Stacked" rig, on the other
hand, is manned by a reduced crew or unmanned and typically has reduced operating costs and is (i) preparing for an extended period of inactivity, (ii) expected to
continue to be inactive for an extended period, or (iii) completing a period of extended inactivity. However, stacked rigs w ill continue to incur operating costs at or
above normal operating costs for 30 to 60 days following initiation of stacking.




                                                                                                                                                                       Page 10
